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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DAVID HATCHIGIAN and                          :             CIVIL ACTION
JOAN RANDAZZO,                                :             No. 21-2562
                                              :
                    Plaintiffs,               :
      v.                                      :
                                              :
CARRIER CORPORATION,                          :
                                              :
                    Defendant,                :

                                      ORDER

      AND NOW, this 21st day of October 2021, upon consideration of Plaintiffs’

Complaint (ECF No. 1), Defendant’s Motion to Dismiss the Complaint (ECF No.

4), Plaintiffs’ Response in Opposition (ECF No. 7), and Defendant’s Reply (ECF

No. 8), it is hereby ORDERED that Defendants’ Motion to Dismiss (ECF No. 4)

is GRANTED. The Complaint (ECF No. 1) is DISMISSED in its entirety with

prejudice.

      It is FURTHER ORDERED that, the Plaintiff having stated on the record

that he has no objection, the Plaintiff shall obtain leave of the Court before

submitting any additional filing related to this case.

      The Clerk of Court is directed to close the above-captioned matter.


                                                  BY THE COURT:

                                                  /s/ Chad F. Kenney
                                                  ___________________________
                                                  CHAD F. KENNEY, JUDGE
